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Debtor   CBHTW CORP.                                                                               Case number (/fknoW71) _______________
         Name


         Request for Relief, Declaration, and Signatures


WARNING - Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result In fines up to $500,000 or
             imprisonment for up to 20years, or both.18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 1 1, United States Code, specified In this petition.
   representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the Information is true and correct.

                                 I declare under penalty of pe�ury that the foregoing is true and correct.

                                 Executed on       June 14, 2023
                                                  MM /DD/YYYY
                                                                    '           J
                              XL � �' ��                                                                  Chrisavgi Mlchialls
                                 Signatureotautilirlzedpreseative of debtor                              Printed name

                                 nt1e    President




18. Signature of attorney     X �                                                                        Date     June 14, 2023
                                 Signature of attorney for debtor                                               MM/DD/YYYY

                                 Lawrence Morrison
                                 Printed name

                                 Morrison Tenenbaum PLLC
                                 Firm name

                                 87 Walker Street, Second Floor
                                 New York NY 10013
                                 Number, Street, City, State & ZIP Code


                                 Contact phone                                   Email address      lmorrison@m-t-law.com

                                  NY 2889590
                                 Bar number and State




 Official Form 201                        Voluntary Petition for Non-lndlvlduals Filing for Bankruptcy
                                                                                                                                                           page -4
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  Fill in this information to identify the case:

  Debtor name         CBHTW CORP.

  United States Bankruptcy Court for the:            EASTERN DISTRICT OF NEW YORK

  Case number (it known)
                                                                                                                                0 Check If this is an
                                                                                                                                  amended fifing



 Official Form 202
 Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                         12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document. and any
amendments of those documents. This form must state the Individual's position or relationship to the debtor, the Identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING - Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud In
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



                 Declaration and signature


        I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; Of another
        individual serving as a representative of the debtor in this case.

        I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct

         0         Schedule AIB: Assets-Real and Personal Property (Official Form 206A/B)
         □         Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
                   Schedule EJF: Creditors Who Have Unsecured Claims (Official Form 206E/F)
         O
         O         Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
         □         Schedule H: Codebtors (Official Form 206H)
                   Summary of Assets and Uabilities for Non-Individuals (Official Form 206Sum)
         O
         0         Amended Schedule
         RI        Chapter 11 or Chapter 9 Cases: Ust of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
         0         Other document that requires a declaration

        I declare under penalty of perjury that the foregoing is true and correct.                            ,,_

         Executed on           June14,2023                           X� .,(,--(�·             �
                                                                      Signatureofindiua signingonatf�
                                                                                                    of debtor

                                                                        Chrisavgi Mlchlalls
                                                                       Printed name

                                                                       President
                                                                       Position or relationship to debtor




Official Form 202                                             Declaration Under Penalty of Perjury for Non-Individual Debtors
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                        -
  Debtor name CBHTW CORP.
                            . . .-
  United States Bankruptcy Court for the:                EASTERN DISTRICT OF NEW                                                                  D    Check if this is an
                                                         YORK
  Case number (if known):                                                                                                                              amended filing




 Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and
Are Not Insiders                                                                           12115

A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the
debtor disputes. Do not include claims by any person or entity who Is an insider, as defined in 11 U.S.C. § 101(31). Also, do not
include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor
among the holders of the 20 largest unsecured claims.

 Name of creditor and      Name ·, 1-lephone· number Nature of claim                  • , lndlcat. If claim   Amount of claim
 complete mailing addresa, and email address of      (for example, trade                   Is contingent,     If the claim Is IIJily unsecured. fiD in onty unsecured daim lm0Unl "
 Including zip code        creditor contact          debts, bank loans,                   unllquldated, or    claim is partially sea.red, 1111 in 101a1 daim amount and de!b:tiof1 rw
                                                     professional services,                   disputed        value cl collateral or 5"toff 1D c:alaJlato unsecured dam.
                                                     and govemment                                            Toalclalm,tf                 Deduction for valua      Unaacured cJalm
                                                     contracts)                                               oartlallv secured            of collataral or Mtoft'
 East 161 Assets                                               Lease Dispute            Disputed                                                                            Unknown
 Corp.
 c/o Pick & Zabicki,
 LLP
 369 Lexington Ave
 Ste 1200, New York,
 NY 10017
 IRS                                                                                    Unllquidated                                                                       Unknown
 PO Box 7346
 Philadelphia, PA
 19101
 NYS Dept of Tax &                                                                      Unliquidated                                                                       Unknown
 Finance
 Bankruptcy Section
 PO Box 5300
 Albany NY 12205




Official form 204                               Chapter 11 or Chapter 9 Cases: List of Credito� 'Mio Have the 20 Larvest Unsecured claims                                  page 1

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                                                             United States Bankruptcy Court
                                                                      Eastern District of New York
 In re      CBHTW CORP.                                                                                    Case No.
                                                                                     Debtor(s)             Chapter    11




                                              VERIFICATION OF CREDITOR MATRIX


        The above named debtor(s) or attorney for the debtor(s) hereby verify that the attached matrix (list of
creditors) is true and correct to the best of their knowledge.




 Date:        June 14, 2023                                               /s/ Chrisavgi Michialis
                                                                         Chrisavgi Michialis/President
                                                                         Signer/Title




USBC-44                                                                                                                          Rev. 9/17/98


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                       East 161 Assets Corp.
                       c/o P ick & Zabicki, LLP
                       369 Lexington Ave, Suite 1200
                       New York, NY 10017


                       IRS
                       P O Box 7346
                       P hiladelphia, P A 19101


                       NYS Dept. of Tax & Finance
                       Bankruptcy Section P O Box 5300
                       Albany, NY 12205
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                                                      UNITED STATES BANKRUPTCY COURT
                                                       EASTERN DISTRICT OF NEW YORK


                                                        STATEMENT PURSUANT TO LOCAL
                                                           BANKRUPTCY RULE 1073-2(b)
 DEBTOR(S):                 _C_B_H_T..;..;
                                     W....;C:...:
                                              Oc..:..
                                                  R:..:....
                                                      P.:_  . _________                                CASE    0.:.
                                                                                           _

        Pursuant to Local Bankruptcy Rule I 073-2(b), the debtor (or any other petitioner) hereby makes the following disclosure
concerning Related Cases, to the petitioner's best knowledge, information and belief:

[NOTE: Cases shall be deemed "Related Cases" for purposes of E.D.N.Y. LBR 1073-1 and E.D.N.Y. LBR I 073-2 if the earlier case
was pending at any time within eight years before the filing of the new petition, and the debtors in such cases: (i) are the same; (ii) are
spouses or ex-spouses; (iii) are affiliates, as defined in 11 U.S.C. § 101(2); (iv) are general partners in the same partnership; (v) are a
partnership and one or more of its general partners; (vi) are partnerships which share one or more common general partners; or (vii)
have, or within 180 days of the commencement of either of the Related Cases had, an interest in property that was or is included in the
property of another estate under 11 U.S.C. § 541 (a).]

0 NO RELATED CASE IS PENDING OR HAS BEEN PENDING AT ANY TIME.

� THE FOLLOWING RELATED CASE(S) IS PENDING OR HAS BEEN PENDING:



1. CASE NO.: 23-42094                      JUDGE:                    DISTRICT/DIVISION:      EDNY

DEBTOR NAME: Chrisavgi Michialis

CASE STILL PENDING (YIN):                         Y                     [Ifclosed] Date of closing:
                                    Pending
 CURRENT STATUS OF RELATED CASE : ____   ______________________
                                      (Discharged/awaiting discharge, confirmed, dismissed, etc.)

 MANNER IN WHICH CASES ARE RELATED (Refer to NOTE above):                                        Affiliate

REAL PROPERTY LISTED IN DEBTOR'S SCHEDULE "A" ("REAL PROPERTY") WHICH WAS ALSO LISTED IN
SCHEDULE "A" OF RELATED CASE:


2. CASE NO.:__ JUDGE:__ DISTRICT/DIVISION: __
                                                                          f
CASE STILL.PENDING (YIN): __                                            [I closed] Date of closing: __

CURRENT STATUS OFRELATED CASE: ----------------,----:---:-----:-- :-- ---­
                                  (Discharged/awaiting discharge, confirmed, dismissed, etc.)

MANNER IN WHICH CASES ARE RELATED (Refer to NOTE above):

REAL PROPERTY LISTED IN DEBTOR'S SCHEDULE "A" ("REAL PROPERTY") WHICH WAS ALSO LISTED IN
SCHEDULE "A" OF RELATED CASE:


3. CASE NO.:__ JUDGE:__ DISTRICT/DIVISION: __

CASE STILL PENDING (YIN):__                                             [Ifclosed] Date of closing:__




                                                                                (OVER)
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DISCLOSURE OF RELATED CASES (cont'd)

 CURRENT STATUS OF RELATED CASE:                               -------------------------------
                                                                   (Discharged/awaiting discharge, con finned, dismissed, etc.)

 MANNER IN WHICH CASES ARE RELATED (Refer to NOTE above):

REAL PROPERTY LISTED IN DEBTOR'S SCHEDULE "A" ("REAL PROPERTY") WHICH WAS ALSO LISTED IN
SCHEDULE "A" OF RELATED CASE:


NOTE: Pursuant to 11 U.S.C. § I 09(g), certain individuals who have had prior cases dismissed within the preceding 180 days may not
be eligible to be debtors. Such an individual will be required to file a statement in support of his/her eligibility to file.


TO BE COMPLETED BY DEBTOR/PETITIONER'S ATTORNEY, AS APPLICABLE:

I am admitted to practice in the Eastern District of New York (YIN): _Y_


CERTIFICATION (to be signed by pro se debtor/petitioner or debtor/petitioner's attorney, as applicable):

I certify under penalty of perjury that the within bankrnptcy case is not related to any case now pending or pending at any time, except
as indicated elsewhere on this fonn.



 Lawrence Morrison
 Signature of Debtor's Attorney                                                  Signature of Pro Se Debtor/Petitioner
 Morrison Tenenbaum PLLC
 87 Walker Street, Second Floor
 New York, NY 10013

  Fax:                                                                           Signature of Pro Se Joint Debtor/Petitioner


                                                                                 Mailing Address of Debtor/Petitioner


                                                                                 City, State, Zip Code


                                                                           Area Code and Telephone Number
Failure to fully and truthfully provide all information required by the E.D.N.Y. LBR I 073-2 Statement may subject the debtor or any
other petitioner and their attorney to appropriate sanctions, including without limitation conversion, the appointment of a trustee or the
dismissal of the case with prejudice.

NOTE: Any change in address must be reported to the Court immediately IN WRITING. Dismissal of your petition may otherwise
result.




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       7.      As the Debtor's affiliate and co-defendant in the Landlord-Tenant Action, I have

also filed a petition for bankruptcy under Chapter 13 with this Court under Case No.

23-42094

       8.          Toe Debtor's books and records are located at 19-24 24th Street, Astoria, NY 11102.

       9.          Pursuant to Rule 1007-(a)(4) of the local bankruptcy rules a list containing the

names and addresses of the Debtor's twenty (20) largest unsecured creditors, excluding insiders

are being filed.

       10.         Pursuant to Rule 1007-2(a)(5) of the local bankruptcy rules, is a list containing the

names and addresses of the Debtor's five (5) largest secured claims will be filed.

        11.        Pursuant to Rule 1007-2(a)(6) of the local bankruptcy rules, a list of the Debtor's

creditors was filed on the docket of the case.

       12.         Toe Debtor does not have any publicly held shares, debentures, or other securities.

       13.         Aside from officers, the Debtor has 5 employees.

       14.         The Debtor expects to receive revenue from operations of the business in the

amount of approximately $65,000 for the thirty (30) day period following the Chapter 11 filing.

The Debtor's operating expenses during the same thirty (30) day period should be approximately

$45,000.00

Dated: June 14, 2023


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                                                 �p�
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 UNITED STATES BANKRUPTCY COURT
 EASTERN DISTRICT OF NEW YORK
 --------------------------------------------------------------------X
In re:
                                                                         Chapter 11
 CBHTW CORP.,
                                                                         Case No. 23----- (          )
                                          Debtor.
 --------------------------------------------------------------------X

                                     CORPORATE RESOLUTION

       At the meeting of the members of CBHTW CORP., (the "Company") a New York
corporation, it was determined to be in the best interests of the Company to file for bankruptcy
under Chapter 11 of the United States Bankruptcy Code and the following resolution was adopted:

                Whereas, it is in the best interest of the Company to file a voluntary petition
         in the United States Bankruptcy Court pursuant to Chapter 11 of Title 11 of the
         United States Code;

                 Be It Therefore Resolved, that Chrisavgi Michialis, President of the
         Company, is authorized and directed to execute and deliver all documents
         necessary to perfect the filing of a chapter 11 voluntary bankruptcy case on behalf
         of the corporation; and

                 Be It Further Resolved, that Chrisavgi Michialis, President of the Company,
         is authorized and directed to appear in all bankruptcy proceedings on behalf of the
         company, and to otherwise do and perform all acts and deeds and to execute and
         deliver all necessary docwnents on behalf of the company in connection with such
         bankruptcy case; and

                Be It Further Resolved, that that Chrisavgi Michialis, President of the
         Company, is authorized and directed to employ Lawrence F. Morrison, attorney
         and the law firm of Morrison Tenenbaum, PLLC to represent the corporation in
         such bankruptcy case


Dated: New York, New York
      June 14, 2023


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                                                                                      ' ,,,   I
                                                    By :�_..,L ,�_.,-cd---=-"
                                                        Chrisavgi Michialis, resident
